
TuitKEY, J.
delivered the opinion of the court.
This is an application by the plaintiffs in error for there-taxation and correction of bills of cost under the following cir*384cumstances: they were jointly indicted for the offence of gaming and jointly convicted, but separate judgments were rendered against them, and in taxing the bills of cost the clerk has allowed separate tax fees against each individual defendant in favor of the attorney general, when it is contended he was only entitled to one, which should have been taxed against all the defendants jointly. The court below refused to alter the bills of cost, and we think correctly.
The act of 1824, ch. 5, sec. 3, provides that whenever any fine or cost shall be rendered in any court against any defendant upon any prosecution under any of the statutes which may be enforced to discourage and suppress gaming, ten dollars shall be taxed in the bill of cost as a fee for the attorney general. The statute we think warrants the mode of taxation adopted by the clerk. Whatever difficulty might have existed if a joint judgment had been rendered against the plaintiffs in error, there can be none in as much as there has been separate judgments against each individually. The judgment of the court below will therefore be affirmed.
